Case 5:13-cr-20239-MAG-PJK ECF No. 60, PageID.282 Filed 02/19/14 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                         Case No. 13-20239
          Plaintiff,
                                                         Honorable John Corbett O’Meara
v.

IBRAHIM AOUN,

          Defendant.
                                                  /

         ORDER DENYING DEFENDANT’S MOTION TO EXCLUDE EVIDENCE

     This matter came before the court on defendant Ibrahim Aoun’s November 14, 2013 motion

in limine to exclude evidence pursuant to Rules 403 and 404(b) of the Federal Rules of Evidence.

The government filed a response December 2, 2013. No reply was filed, and no oral argument was

heard.

     Defendant Aoun has been charged with two violations of each of the following: Distribution

of a Controlled Substance, 21 U.S.C. § 841(a)(1); Maintaining a Place for the Purpose of

Distributing Controlled Substances, 21 U.S.C. § 856(a)(1); Possession of a Firearm in Furtherance

of a Drug Trafficking Crime, 18 U.S.C. § 924(c)(1)(A); and Possession of a Firearm by a Felon, 18

U.S.C. § 922(g).

     The government has provided defendant Aoun with notice of its intention to introduce

evidence of three prior arrests that occurred in 2012. In this motion Aoun seeks to exclude the

evidence, claiming it is “substantially more prejudicial than probative because it creates an

impermissible propensity inference.” Def’s mot. at 1.
Case 5:13-cr-20239-MAG-PJK ECF No. 60, PageID.283 Filed 02/19/14 Page 2 of 3




                                     LAW AND ANALYSIS

      In determining the admissibility of other acts evidence under Rule 404(b), the court considers

three factors: 1) whether there is sufficient evidence that the act(s) occurred; 2) whether the other

act(s) is admissible for one of the proper purposes under the rule; and 3) whether the probative value

of the evidence is substantially outweighed by the danger of unfair prejudice. United States v.

Hardy, 643 F.3d 143, 150 (6th Cir. 2011).

      In this case the government asserts that police officer testimony will positively identify the

defendant as the person arrested and/or detained with other evidence of controlled substance

possession and delivery. In addition, the government intends to offer evidence of prior acts to show

specific intent, an element of the offenses with which the defendant is charged. Finally, the

probative value of this evidence regarding the defendant’s intent is very high. Any danger of unfair

prejudice can be mitigated with a jury instruction focusing the jury on the valid use of the evidence

to assess the defendant’s intent and plan. Therefore, the court will instruct the government to craft

and submit such an instruction.

                                              ORDER

      It is hereby ORDERED that defendant Aoun’s November 14, 2013 motion to exclude

evidence is DENIED.



                                               s/John Corbett O'Meara
                                               United States District Judge


Date: February 19, 2014




                                                  2
Case 5:13-cr-20239-MAG-PJK ECF No. 60, PageID.284 Filed 02/19/14 Page 3 of 3




      I hereby certify that a copy of the foregoing document was served upon counsel of record on
this date, February 19, 2014, using the ECF system.


                                            s/William Barkholz
                                            Case Manager




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